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5
     Attorney for Defendant
6    MARTY MARCIANO BOONE
7
                                 IN THE UNITED STATES DISTRICT COURT
8
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                     ) Case No. 2:16-cr-020 TLN
                                                   )
11                  Plaintiff,                     ) STIPULATION AND [PROPOSED] ORDER TO
                                                   ) MODIFY PRETRIAL CONDITIONS OF RELEASE
12         vs.                                     )
                                                   )
13   MARTY MARCIANO BOONE and                      )
     RONDA BOONE,                                  )
14                                                 )
                    Defendants.                    )
15                                                 )
16           IT IS HEREBY STIPULATED by and between Phillip A. Talbert, Acting United States
17   Attorney, through Assistant United States Attorney Jared Dolan, attorney for the Plaintiff, and
18   Hannah R. Labaree, attorney for Marty Marciano Boone, that the travel restriction previously
19   imposed by the Magistrate Judge be modified to include permitting the Defendant Marty
20   Marciano Boone travel without restriction to/from and within the Northern District of California.
21           This Stipulation has been presented to Pretrial Service Officer Tafia Gaskin, who has no

22   objections.

23   DATED: November 2, 2016                        Respectfully submitted,
24                                                  HEATHER E. WILLIAMS
25                                                  Federal Defender

26                                                  /s/ Hannah R. Labaree
                                                    HANNAH R. LABAREE
27                                                  Assistant Federal Defender
                                                    Attorney for MARTY MARCIANO BOONE
28

      Stipulation and [Proposed] Order to Modify      -1-
      Pretrial Conditions
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1                                                  ORDER
2            IT IS HEREBY ORDERED, the Court, having received, read, and considered the parties’
3    stipulation, and good cause appearing therefrom, adopts the parties’ stipulation in its entirety as
4    its order.
5            The Court orders that the travel restriction previously imposed are modified to include
6    permitting the Defendant Marty Marciano Boone to travel without restriction to/from and within
7    the Northern District of California.
8
9    Dated: November 2, 2016
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      Stipulation and [Proposed] Order to Modify      -2-
      Pretrial Conditions
